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                                   6                               UNITED STATES DISTRICT COURT

                                   7
                                                                 NORTHERN DISTRICT OF CALIFORNIA
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                                  10   In the matter of Complaint of BRIAN
                                       CHRISTOPHER AMBLE as the )
                                  11   alleged owner of a certain 1971 Far East             No. C 20-03713 WHA
                                       Mariner 40 bearing hull identification
                                  12   number GM82 and her engines, tackle, )
Northern District of California
 United States District Court




                                       appurtenances, etc.
                                  13                                                        ORDER RE MOTION TO CONTINUE
                                       For exoneration from, or limitation of,
                                  14   liability.
                                  15

                                  16         In lieu of the date suggested by the parties, this order hereby extends the October 29 date

                                  17   by which to file a motion to stay to NOVEMBER 12 AT NOON. No further extensions will be

                                  18   granted.

                                  19         IT IS SO ORDERED.

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                                  21   Dated: October 28, 2020.

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                                                                                              WILLIAM ALSUP
                                  24                                                          UNITED STATES DISTRICT JUDGE
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